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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )   No.  12 CR 723
      v.                                  )        13 CR 703
                                          )        15 CR 487
                                          )   Honorable Matthew F. Kennelly
ADEL DAOUD                                )


       Government’s Motion for a Protective Order Pertaining to the
           Sentencing Testimony of FBI Undercover Employee

      The United States, through its attorney, John L. Lausch, Jr., United States

Attorney for the Northern District of Illinois, respectfully submits this motion for a

protective order authorizing the government to use certain measures to protect the

identity and security of the FBI Undercover Employee (UCE) when he/she testifies

at the sentencing.

                                   Background

      On September 14, 2012, the defendant attempted to detonate a 1,000-pound

car bomb that he believed was going to kill hundreds of people at the Cactus Bar and

Grill. That conduct led to the charges in 12 CR 723.

      After he was detained pending trial, the defendant solicited his cellmate to

have his fellow gang members kill the FBI Undercover Employee (UCE) whom the

defendant believed was an Islamic hypocrite and a spy that needed to die. The

attempt to kill the UCE led to the charges in 13 CR 703.

      Several years later, while incarcerated, the defendant attempted to murder an

inmate at the MCC who had drawn a picture of the Prophet Mohammad. The
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defendant found the picture to be insulting to Islam and felt obligated to kill the

inmate. The attempt to kill the inmate led to the charges in 15 CR 487.

        At the upcoming sentencing hearing, the government intends to call the UCE

who was involved in the investigation that led to the arrest and prosecution of the

defendant. The UCE will testify about his/her conversations with the defendant that

took place online and in person. Some of the online communications will be exhibited

during his/her testimony and portions of the video recordings of the UCE’s meetings

with the defendant will be played during his/her testimony.

        Public disclosure of the UCE’s true identity or physical appearance would

jeopardize other undercover investigations and pose a risk of danger to the witness

and his/her family. 1 In addition, exposure of the inner workings of the FBI’s

undercover program could undermine the effectiveness of the program. As such, in

order to protect the witness’s true identity and physical appearance, as well as the

integrity of the FBI undercover program, the government requests certain security

measures be implemented with the UCE testifies, consistent with measures used in

other national security cases.




1 Accompanying this motion is the Government’s Classified Ex Parte and In Camera Motion
for a Protective Order Pursuant to Section 4 of the Classified Information Procedures Act
(CIPA) and Fed. R. Crim. P. 16(d)(1), and a classified declaration from Robert B. Wells, the
Assistant Director of the FBI’s Counterterrorism Division. The Wells Declaration sets forth
the basis for the implementation of the requested protective measures during the testimony
of the witness.

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                          Protective Measures Sought

      Based on the need to prevent disclosure of the UCE’s true identity and physical

appearance, so as to protect the safety of the UCE and his/her family, to protect the

integrity of the FBI’s undercover program and to avoid compromising other

investigations, the government respectfully requests the adoption of certain security

measures for the testimony of the UCE.

      The proposed measures are based on similar measures adopted by other courts

and are narrowly tailored. Namely, they assure that the identity of the UCE and the

integrity of other undercover investigations will not be compromised without

impairing the defendant’s confrontation rights under the Sixth Amendment or the

public’s right of access. Specifically, the government requests the Court implement

the following measures:

       1.     The UCE may testify at sentencing using a pseudonym without publicly
disclosing his/her true identity;

         2.   The defense shall be prohibited from asking any questions that would
illicit the monikers used by the UCE;

       3.    The defense shall be prohibited from asking any questions seeking
personal identifying information from the UCE, including true name, address, or
place or date of birth;

     4.     The defense shall be prohibited from asking any questions about the
UCE’s participation in past or pending investigations or undercover operations;

     5.    The defense shall be prohibited from asking any questions regarding
any FBI undercover program writ large to include training and operations;

        6.   Only the Court, essential courtroom personnel, the defendant and his
standby counsel, the defendant’s immediate family members, and the government’s
trial team shall be present in the courtroom when the UCE testifies. The government
shall arrange for contemporaneous CCTV video or similar broadcast of the courtroom

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proceeding during the testimony to an overflow courtroom. The CCTV video will not
show the UCE or any video of the UCE’s meetings with the defendant. The UCE’s
face will also be digitally obscured on any of the video of the UCE’s meetings with the
defendant that are played during the sentencing hearing or released to the public;

       7.     No public disclosure of any audio recording, or similar reproduction of
the voice or visual image of the witness while testifying, shall be permitted; and

      8.    The witness shall be permitted to use a non-public entrance/exit to the
courthouse and the courtroom.
                                    Argument

         Protecting an officer’s safety and the integrity of other ongoing investigations

are compelling interests that courts have long recognized in crafting security

measures for witness testimony. Courts, for example, have allowed witnesses to

testify under a pseudonym and behind a screen or while otherwise concealed,

concluding that those measures do not interfere with the defendant’s right to a fair

and public trial. That precedent readily justifies the reasonable security measures

proposed here.

I.       The Court Should Not Require the Disclosure of the Witnesses’ True
         Identity.

         The Confrontation Clause of the Sixth Amendment gives a defendant the right

to confront and cross-examine the government’s witnesses who testify against the

defendant. See Maryland v. Craig, 497 U.S. 836, 846 (1990); Smith v. Illinois, 390

U.S. 129 (1968). The “elements of confrontation—physical presence, oath, cross-

examination, and observation of demeanor by the trier or fact—serves the purposes

of the Confrontation Clause by ensuring that evidence admitted against an accused

is reliable and subject to rigorous adversarial testing that is the norm of Anglo-

American criminal proceedings.” Craig, 497 U.S. at 846. “The rule is that once cross-

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examination reveals sufficient information to appraise the witnesses’ veracity,

confrontation demands are satisfied.” United States v. Falsia, 724 F.2d 1339, 1343

(9th Cir. 1983).

      The Confrontation Clause does not require that a jury hear a witness’s true

name. The Supreme Court recognized in Delaware v. Van Arsdall, 475 U.S. 673, 679

(1986)that “trial judges retain wide latitude insofar as the Confrontation Clause is

concerned to impose reasonable limits on such cross-examination based on concerns

about, among other things, harassment, prejudice, confusion of the issues, the

witness’s safety, or interrogation that is repetitive or only marginally relevant.”

      In a similar vein, the Seventh Circuit has observed that “where there is a

threat to the life of the witness, the right of the defendant to have the witness’s true

name, address, and place of employment is not absolute.” United States v. Palermo,

410 F.2d 468, 472 (7th Cir. 1969) (citing United States v. Varelli, 407 F.2d 735 (7th

Cir. 1969)); see also Siegfriedt v. Fair, 982 F.2d 14, 18 (1st Cir. 1992); United States

v. Contreras, 602 F.2d 1237, 1239-40 (5th Cir. 1979) (where there was reasonable fear

the disclosure of DEA agent’s home address and frequented locations would endanger

him/her and his/her family, no error in precluding cross-examination as to home

address and other background information even though agent was “instrumental in

defendant’s arrest”); United States v. Maso, 2007 WL 3121986, *4 (11th Cir. Oct. 26,

2007) (per curiam) (unpublished) (“The district court did not violate [the defendant’s]

right to confront witnesses by allowing the [cooperating witness] to testify using a

pseudonym.”); Brown v. Kuhlman, 142 F.3d 529, 532 n.3 (2d Cir. 1998) (undercover



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detective who testified in closed courtroom due to safety concerns was permitted to

testify using his badge number instead of his true name).

      Courts, including those in the Seventh Circuit, have approved alias testimony

in a variety of contexts. In United States v. Abu Marzook et al., this Court permitted

witnesses from the Israel Security Agency to testify for the government at trial using

the pseudonyms by which the defendant knew them, and to testify outside the view

of the public. No. 03-cr-978, Doc. #652 at 2 (N.D. Ill. Aug. 29, 2006) (J. St. Eve)

(“[E]ven if their true identities were not classified, the safety concerns faced by these

witnesses justify their use of pseudonyms when testifying.”) (Attached as Exhibit 3).

The same measures had been used in a pretrial suppression hearing in Abu Marzook,

412 F. Supp. 2d 913, 923-24 (N.D. Ill. 2006); see also United States v. El-Mezain, 664

F.3d 467, 492 (5th Cir. 2011) (finding a “serious and clear need to protect the true

identities” of the two Israel Security Agency witnesses who testified by pseudonym);

United States v. Abu Ali, 395 F.Supp.2d 338, 344 (E.D. Va. 2005) (permitting use of

pseudonyms by witnesses who testified during a pre-trial Rule 15 deposition that was

conducted via satellite real-time video from Saudi Arabia to the federal courthouse in

Alexandria, Virginia); United States v. Dumeisi, No. 03-cr-664, Doc. #83 at 1 (N.D. Ill.

Jan. 2, 2004) (permitting government witness to testify under a pseudonym and

appear in light disguise, and prohibiting questioning about the witness’s current or

former address). More recently, similar protective measures were approved in

terrorism cases in this district as well as in the District of Oregon and in the Middle

District of Florida. See United States v. Thomas Osadzinski, 19 CR 869, Doc. #116



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(N.D. Ill, September 20, 2021); United States v. Edward Schimenti and Joseph Jones,

17 CR 236, Doc. #168 (N.D. Ill. May 31, 2019); United States v. Mohamud, No. 10-cr-

475, Doc. #341 (D. Or. Dec. 19, 2012); United States v. Osmakac, No. 12-CR-45, Doc.

#217 (M.D. Fla. February 12, 2014); as well as in the initial sentencing of this matter,

United States v Adel Daoud, 12 CR 723, Doc. #155 (N.D. Ill. March 19, 2015).

      The declaration from FBI Assistant Director for Counterterrorism Robert B

Wells, lays out the compelling reasons to adopt the proposed security measures. The

FBI’s undercover program—which relies on a small group of personnel who are

trained and certified—plays a vital role in the detection, prevention, and prosecution

of national security cases. This program is highly valuable, and the FBI has a

substantial interest in protecting the personal safety of its undercover personnel. As

such, and as further detailed in the FBI declaration, disclosing the witnesses’

identities would pose a risk their safety. In addition, discussion of the FBI’s

undercover programs undermine the security of other undercover investigations and

the integrity of the government’s undercover procedures. In light of these interests,

and as further explained in the Assistant Director’s declaration, in conjunction with

their undercover roles, the true name of the witness is classified

      Balanced against these interests, the use of a pseudonym by the witness will

not prejudice the defendant’s confrontation rights. It is his/her interaction with the

defendant—not his/her personal identity—that make his/her testimony relevant at

sentencing. Because the defendant has only known the UCE by his/her pseudonym,

withholding his/her true identity will not detract from the substance of any cross-



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examination and will not impair the defendant’s Sixth Amendment right to confront

the witness. The UCE will be present in the courtroom, so the defendant will be able

to see him/her during his/her examination by the government and defense counsel.

The jury, moreover, will be able to observe and assess the witnesses’ appearances and

demeanor while testifying.

      Along those same lines, the defendant should be restricted from eliciting

questions that would publicly reveal any personal information about the UCE that

could disclose his/her identity. Personal information about the UCE is not relevant to

the charges; it is his/her contacts and communications with the defendant that

matter. Public disclosure of personal information about the UCE, such as names and

addresses, will compromise his/her safety and that of his/her family, as well as

substantially impact other investigations. Cross-examination into completely

irrelevant personal information should be prohibited.

II.   The Court Should Permit the UCE to Testify Outside the View of the
      Public

      The Sixth Amendment guarantees the right to a public trial. That right assures

the defendant receives a fair trial, promotes the integrity of the fact-finding process,

preserves public confidence in the criminal justice system, and affords the community

an outlet to address crime. Waller v. Georgia, 467 U.S. 39, 46 (1984). But the right to

a public trial is not absolute—a trial judge may implement reasonable procedures to

protect other compelling interests without infringing the Sixth Amendment. Id. at

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      Waller provided a four-factor test for determining whether courtroom closure

is appropriate:

      The party seeking to close the hearing must advance an overriding
      interest that is likely to be prejudiced, the closure must be no broader
      than necessary to protect that interest, the trial court must consider
      reasonable alternatives to closing the proceeding, and it must make
      findings adequate to support the closure.

467 U.S. 39, 48 (1984). Although the government is not seeking to close the

proceedings entirely during the UCE’s testimony, these factors remain instructive in

assessing the appropriateness of the government’s proposal.

      First, courts have recognized that “The state interest in maintaining the

continued effectiveness of an undercover officer is an extremely substantial interest,

and . . . this interest would be seriously prejudiced by requiring the officer to testify

in an open courtroom.” Ayala v. Speckard, 131 F.3d 62, 72 (2d Cir. 1997); see also

Rodriguez v. Miller, 537 F.3d 102, 110 (2d Cir. 2008) (“It is clear that the State has

an ‘overriding interest’ in protecting the identity of its undercover officer.” In Brown

v. Artuz, 283 F.3d 492, 501-02 (2d Cir. 2002), the Second Circuit held that protecting

an undercover officer’s safety satisfied the first prong of the Waller test and was an

overriding interest likely to be prejudiced if the courtroom was open to the public

during the officer’s testimony. Taken together, Ayala, Rodriguez, and Brown instruct

that protecting other investigations and ensuring a law enforcement officer’s safety

are both compelling government interests, in satisfaction of the first Waller factor.

      As discussed in the attached declaration, the FBI has serious concerns about

the disclosure of the witness’ identity, both by name and appearance. As this Court



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is no doubt aware, given the ubiquity of smart phones, it is difficult for court security

to stop a spectator from taking a photograph of court proceedings; indeed, those

incidents occasionally arise, despite rules barring such conduct. The government need

not “prove that particular individuals likely to attend the trial will disclose the

officer’s identity,” Ayala, 131 F.3d at 72. The risk remains that anyone in the

courtroom may reveal the appearance of the UCE to others, which would endanger

the UCE and would risk jeopardizing ongoing FBI investigations.

      As to the second Waller factor, the proposed measures are no broader than

necessary to protect the government’s core interests. Rather than seeking the more

drastic measure of closing the courtroom completely during the UCE’s testimony, the

government requests moderate protections against the disclosure the true identity

and appearances of the witness, while still permitting the public to hear their

testimony.

      Specifically, when the UCE testifies, the Court, essential personal, the

defendant, his standby counsel and immediate family members, and the

government’s trial team would be present in the courtroom. The government will

arrange for a contemporaneous CCTV video or similar broadcast of the courtroom

proceeding to an overflow courtroom which will not show the UCE’s face during

his/her testimony nor will it show any video of the UCE’s meetings with the

defendant. In other words, the camera will be turned away from the UCE and from

any monitors. Moreover, the UCE’s face on the videos that will be played at

sentencing, and any video made available to the public, will show the UCE’s face



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digitally distorted. The purpose of this proposal is to protect the UCE’s image and

identity from being revealed to the public.

       The Wells declaration submitted in support of the classified motion details the

government’s substantial interests here in protecting the UCE’s safety and that of

his/her family as well as maintaining the continued effectiveness of ongoing and

future undercover investigations. See Ayala, 131 F.3d at 72. Thus, the Court would

be justified in concluding that these interests “would be seriously prejudiced by

requiring the officer to testify in an open courtroom.” Id.

      Importantly, the government’s proposed protective measures would prevent

only the public—not the defendant—from viewing the UCE’s face during testimony.

This procedure will not deprive the defendant of the ability to confront the UCE, nor

will it deprive the Court of the ability to evaluate his/her demeanor. The transcript

of his/her testimony would be made available to the public in its entirety after the

testimony is concluded. On balance, the moderate restriction to the public pales in

comparison to the government’s interest in concealing his/her identity during his/her

continued work as an undercover employee.

      Prohibiting the public dissemination of any reproduction of the audio or video

of the testimony will not impair any Sixth Amendment rights. Federal judicial policy

prohibits the taking of in-court photographs or videotape of criminal trials, in any

event. Here, a written transcript of the testimony will be available to the public. Only

the visual images of the UCE on the witness stand will be obscured from the public.




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Thus, all the measures proposed by the government are narrowly tailored to protect

the important and substantial government interests at issue.

       As to the last Waller factor, the government requests that the Court make the

following findings based on the law cited above and the information presented in the

Wells declaration: (1) the reasonable measures proposed by the government are

necessary to protect from disclosure the UCE’s true identity at sentencing; (2)

disclosure of the UCE’s true identity would jeopardize ongoing and future undercover

investigations and the government’s undercover investigative procedures; (3) the

UCE and his/her family face a real and substantial risk of danger if his/her true

identity is disclosed; and (4) disclosure of the FBI’s undercover program would

jeopardize other ongoing and future undercover operations.

III.   Similar Measures Have Been Approved in Prior Cases

       In the initial sentencing hearing in this matter, similar protective measures

were approved by Judge Coleman. United States v Adel Daoud, 12 CR 723, Doc. #155

(N.D. Ill. March 19, 2015). Judge Coleman ordered the following protective measures,

among others that were not implemented: the courtroom was closed during the

testimony, the UCE testified using the pseudonym that the defendant knew him/her

as, his/her appearance matched how the UCE appeared to the defendant during the

undercover operation, and the UCE entered the courthouse and the courtroom

through a non-public entrance.

       In United States v. Thomas Osadzinski, 19 CR 869, Doc. #116 (N.D. Ill,

September 20, 2021), Thomas Osadzinski was charged with attempting to provide



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material support to ISIS. During the investigation, Osadzinski engaged with

multiple FBI online covert employees and with a FBI confidential human source. For

the same justifications presented here, Judge Gettleman approved the same

protective measures requested by the government for the testimony of the covert

employees and the source.

      The protective measures requested by the government have also been approved

by Judge Wood in the terrorism trial of United States v. Edward Schimenti and

Joseph Jones, 17 CR 236, Doc. # 168 (N.D. Ill. May 31, 2019). Schimenti and Jones

were charged with conspiring to provide material support to ISIS. During the

investigation, Schimenti and Jones engaged with multiple OCEs, undercover agents

and a CHS. Judge Wood, in granting the motion for the same protective measures for

requested here, found that “the . . . [proposed] procedures are necessitated by a

compelling interest in protecting from public disclosure highly-confidential and

sensitive matters of national security relating to this case and will also ensure the

integrity of the proceedings.” Id. The Court further found the “procedures [were]

narrowly-tailored for these purposes.” Id.

      In this district, Judge St. Eve implemented more strict security protections in

Abu Marzook et al., No. 03-cr-978, Doc. #652 at 3 (N.D. Ill. Aug. 29, 2006), during the

testimony of witnesses from the Israel Security Agency. At a pretrial suppression

hearing earlier in that case, the court closed the courtroom entirely during the

testimony of the ISA witnesses. No CCTV footage of the testimony was broadcast.

Abu Marzook, 412 F. Supp. 2d at 919.



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      These same protective measures currently requested were also authorized by

Judge Garr King during a terrorism trial in the District of Oregon. See United States

v. Mohamed Mohamud, No. 10-CR-475, Doc. #341 (D. Or. December 19, 2012). That

case involved a defendant who attempted to detonate a car bomb at a Christmas tree

lighting in Portland. Among the witnesses at trial were two FBI undercover

employees who similarly faced risks. With the permission of the judge, the undercover

employees testified pursuant to the same protective measures as proposed here. See

No. 10-CR-475, Doc. #341. Likewise, similar protective measures were used for an

FBI undercover employee in a recent terrorism trial in the Middle District of Florida.

See No. 12-CR-45, Doc. #217.

      Under the government’s proposed protective measures, the transcript of the

witnesses’ testimony will be available for review by the public or press, but there will

be no public disclosure of any video or photographic evidence that depicts the

witnesses. See United States v. Trofimoff, No. 8:00-CR-197-T-24EAJ, 2001 WL

1644230 at *3 (M.D. Fla. June 12, 2011) (blurring the image of the undercover officer

was “a narrow remedy carefully tailored to protect the effectiveness of the undercover

agent while allowing the media access to the full substance of the video tape”). Thus,

although the public will not be in the same courtroom, the public will have full access

to the proceeding, except for his/her facial image.




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                                     Conclusion

      The government requests that the Court grant the government’s motion for a

protective order and adopt the government’s proposed protective measures to assure

the security and safety of the UCE and his/her family, other undercover

investigations, and the government’s undercover investigative procedures.


                                       Respectfully submitted,

                                       JOHN R. LAUSCH, Jr.
                                       United States Attorney

                               By:      /s/ Barry Jonas
                                       BARRY JONAS
                                       TIFFANY ARDAM
                                       Assistant United States Attorneys
                                       219 South Dearborn Street, 5th Floor
                                       Chicago, Illinois 60604




Dated: March 27, 2023




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